           Case 4:17-cv-00756-CCC Document 22 Filed 03/27/19 Page 1 of 1



                  IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CHRISTINE WOODS,                              :   CIVIL ACTION NO. 4:17-CV-756
                                              :
                     Plaintiff                :   (Chief Judge Conner)
                                              :
               v.                             :
                                              :
CLINTON COUNTY,                               :
                                              :
                     Defendant                :

                                         ORDER

      AND NOW, this 27th day of March, 2019, upon consideration of defendant’s

motion (Doc. 12) for summary judgment, and the parties’ respective briefs in

support of and opposition to said motion, and for the reasons set forth in the

accompanying memorandum, it is hereby ORDERED that:

      1.       Plaintiff’s hostile work environment claim, brought pursuant to Title
               VII of the Civil Rights Act of 1964 (Count I) and the Pennsylvania
               Human Relations Act (Count II), is deemed WITHDRAWN.

      2.       The motion (Doc. 12) for summary judgment is GRANTED as to all
               remaining claims in plaintiff’s complaint.

      3.       The Clerk of Court is DIRECTED to enter judgment in favor of
               defendant and against plaintiff as to plaintiff’s claims for failure to
               promote and constructive discharge under the Americans with
               Disabilities Act (Count I) and Pennsylvania Human Relations Act
               (Count II).

      4.       Defendant’s motion (Doc. 17) in limine is DISMISSED as moot.

      5.       The Clerk of Court is directed to CLOSE this case.



                                                  /S/ CHRISTOPHER C. CONNER
                                                  Christopher C. Conner, Chief Judge
                                                  United States District Court
                                                  Middle District of Pennsylvania
